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                                                                                                                                          MANAGERIAL                      AND DECISION ECONOMICS
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       Player Salary Share and the Distribution

                                                                  of Player Earnings

                                                                                            Gerald              W         Scully

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                        Veteran           free         agency           in    professional                team       sports          has     led       to        higher         average         player

                        compensation                   an    increase         in the            share    of     league     revenues          going          to     players       and     increased

                        dispersion         in player              earnings             Tests      on the       distributions          of    player salaries               in the       last    decade

                        reject     that         they       are    the   same           in   the early          and    later     years        The       variance           in baseball           player

                        compensation                  is   decomposed              into         share    and     marginal            revenue       product          effects       for    1990 and
                        1998 and           it    is   found       that both            effects        contributed to           the    increased         variance          in player           salaries

                        A simulation              of       the   effect      of    universal            free    agency      in baseball           suggests          a    modest        increase          in

                        player salary             share and a drop                     in compensation               inequality        among           players           Copyright                 2004

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                                 INTRODUCTION                                                                         10 15          times         rookie            pay now                  some           earn         50 75
                                                                                                                     times           minimum                 salary         The         relative              rise        in    the




monoposonistic
While       all    professional

             labor markets
                                                  team

                                                 in
                                                                  sports

                                                           the past          all
                                                                                   had

                                                                                    have veteran
                                                                                                                     compensation of veteran

                                                                                                                     other           players           has        lead      to
                                                                                                                                                                                free


                                                                                                                                                                                   about
                                                                                                                                                                                        agents

                                                                                                                                                                                                    a
                                                                                                                                                                                                         compared

                                                                                                                                                                                                             doubling
                                                                                                                                                                                                                                 to


                                                                                                                                                                                                                                 of
free


a
       agency

     free   labor
                         now This change
                          market                 at    least
                                                                   from

                                                                   for
                                                                                   a restricted

                                                                             eligible            veteran
                                                                                                           to

                                                                                                                     coefficient
                                                                                                                     earnings

                                                                                                                                     in
                                                                                                                                           inequality

                                                                                                                                            basketball
                                                                                                                                                                    measured

                                                                                                                                                                        and        hockey
                                                                                                                                                                                         by        the

                                                                                                                                                                                                         and
                                                                                                                                                                                                             Gini

                                                                                                                                                                                                                      a        very

players creates a natural                                  experiment                  in   which         the        substantial              rise           in      inequality               in        baseball               and

effects     of freedom                 of the market can                               be   examined                 football

and     measured                 These            effects          are       predictable                   an             In    this       paper            the     effect        of veteran                 free     agency




earnings distribution
increase          in    player         pay        salary as             a higher share of                            on player compensation share and on the

revenue           and        a   greater dispersion                          in        player                                   of         player           compensation                      is     examined                    In


        Average              player        compensation                           in   2000           in the         Section          2 of the          paper player compensation share
NBA is 140 times                    its    level           in    the    1967 1968 season                             is    examined                in       1970 1973                  1980 and                      annually

and    105 times its

increases         in player
                                    1967 level in baseball

                                       compensation are not quite so
                                                                                            While the
                                                                                                                     compensation
                                                                                                                     from       1990 One sees sharp breaks
                                                                                                                                     share        in    sports           where          the
                                                                                                                                                                                                   in


                                                                                                                                                                                                   shift
                                                                                                                                                                                                         the


                                                                                                                                                                                                               to     veteran

dramatic           in     football              and          hockey               they          are     very         free      agency        is at      a time certain But each sport has
substantial             Compound growth                                rates       of player pay                     a    different          history and                  experience               in    securing              this


                                  16.5                       annum and


                                                                                                                     including
in   basketball           of                      per                                    in     baseball             benefit          for    veteran               players         and these differences
of     15          have          outstripped                     the        growth              rates      of        are    briefly         discussed                Since        regular            roster

revenues           in     these           sports             by    several               percentage                         injured reserve player                              compensation as a share

points      As SUCh player compensation                                             as      a   share      of        of revenue              is    in       the     50 55 range                         in     all    sports

revenue           has     more            than             doubled            since             the      late        now        one naturally                     asks     if    this is       the       upper        bound
1960s While superstar players                                          in    the       past       earned
                                                                                                                     distribution
                                                                                                                     share           Section

                                                                                                                                of player
                                                                                                                                                       2.1
                                                                                                                                                       earnings
                                                                                                                                                                    The         change
                                                                                                                                                                            between
                                                                                                                                                                                                   in    the

                                                                                                                                                                                                   1990 and                1998

                                                                                                                     is    examined               for        all    of the             sports           in    Section            3
Correspondence               to The        University             of Texas         a t Dallas         27872
                                                                                                                     Nonparametric                           tests          for          the            equality                 of
Camino      Del        Rio       San      Juan         Capistrano             CA 92675                USA
Email gws              utdall    as edu                                                                              two       distributions                     and       parametric                   tests        for        the



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  78                                                                                                       G W SCULLY

  interperiod               differences                 in    the       Gini     coefficients                are       in    ice        hockey               Major            league            baseball                and     the



  compensation
  compared
  performed                 In        Section           4 baseball              player                                 National              Hockey               League           had     the        most         restrictive


                 and           marginal                revenue            product                are                   labor           market            rules          In     football              and          basketball

                 Section              4.1        discusses             the      methodology                       of   player           salary           share          was         higher            in     this        period

  estimating gross

  presents           the results
                                       marginal product

                                                  In    Section
                                                                                in    baseball

                                                                         4.2 the variance
                                                                                                            and

                                                                                                                  in
                                                                                                                       interleague
                                                                                                                       Players           benefited

                                                                                                                                        competition
                                                                                                                                                                   at


                                                                                                                                                                    in
                                                                                                                                                                         various

                                                                                                                                                                             football
                                                                                                                                                                                            times

                                                                                                                                                                                                    AFL 1960 1969
                                                                                                                                                                                                                 from


  player        salary salary share                                 and marginal                   revenue             WFL 1974 1975 USFL                                           1983 1985                      basketball

  product             is       computed                     for     the       1990           and           1998        ABA 1968 60 1975 76                                         and         in      hockey             WHA
  baseball

 magnitude
                      seasons

                            between
                                                 to     determine

                                                      share         effects
                                                                                 the

                                                                                   and
                                                                                              order

                                                                                                  marginal
                                                                                                                  of
                                                                                                                       considerable
                                                                                                                       1972 73 1978 79 This
                                                                                                                                upward                  pressure
                                                                                                                                                                             competition

                                                                                                                                                                             on     player
                                                                                                                                                                                                            put

                                                                                                                                                                                                      salaries            While

  revenue            product            effects             on the variance                      in   salary           the      labor             market            was            restricted               de     jure         the

 Conclusions                   follow            in    Section           5                                             prospect              of     players             jumping                to      the        competing

                                                                                                                       leagues           forced           salaries            and         the        player         share        of

                                                                                                                       revenues              upward
                                                                                                                            Veterans              got        free       agency            in    baseball                through

                 COMPENSATION SHARE IN                                                                                 arbitration                 in    1975            with         the           first        free     agents

                PROFESSIONAL TEAM SPORTS                                                                               entering              the         market               in     1976              In         basketball

                                                                                                                       players           gradually                 got        relaxation                    of     the     labor



 restricted
 Prior          to    veteran

                     in    their
                                            free

                                        ability
                                                        agency

                                                            to      move
                                                                             players

                                                                                 between
                                                                                                  were

                                                                                                       clubs
                                                                                                                       market

                                                                                                                       ultimately

                                                                                                                       price    of the
                                                                                                                                         rules           in


                                                                                                                                                  extracted

                                                                                                                                                   NBA ABA merger
                                                                                                                                                                  various

                                                                                                                                                                         veteran
                                                                                                                                                                                    court

                                                                                                                                                                                           free
                                                                                                                                                                                                     decisions



                                                                                                                                                                                                     In
                                                                                                                                                                                                          agency
                                                                                                                                                                                                            1976 players
                                                                                                                                                                                                                         as
                                                                                                                                                                                                                               and
                                                                                                                                                                                                                                the

 Leagues             imposed a reservation clause                                       baseball                or

 an     option             clause           in        player        contracts                Where            an       got liberalization                     on    drafting          rights elimination                        of

 option         clause           was in effect                    in   theory players were                             the     option             clause          for        nonrookie                players             and     a

 free to seek                  offers from                  other       clubs         after playing                    system           of        Right           of First          Refusal                  By 1988            all


 out      their       options                but        compensation                        or     transfer            restrictions               were        eliminated              for           free     agents            The


 firstround
 fees  g   were

                draft
                          so     high

                               choices
                                                 e
                                                      that
                                                             football

                                                              player initiated
                                                                                 with         two

                                                                                                   transfer
                                                                                                                       players

                                                                                                                        from
                                                                                                                       league
                                                                                                                                        operate

                                                                                                                                       the

                                                                                                                                       gate
                                                                                                                                              1984 85 season
                                                                                                                                                   and
                                                                                                                                                             under


                                                                                                                                                              television
                                                                                                                                                                          a so called

                                                                                                                                                                                    until

                                                                                                                                                                                     revenues
                                                                                                                                                                                                      soft


                                                                                                                                                                                                recently
                                                                                                                                                                                                                  salary

                                                                                                                                                                                                                        53 of
                                                                                                                                                                                                                 Because of
                                                                                                                                                                                                                               cap




 was precluded                        The        result      of these           restrictions                was
 that     player            salary          or        compensation as a share                                   of     the   Larry Bird exemption                                   retaining               a veteran no

 league         revenues               was            rather        small As                 is    seen         in     matter          the        cost       does not count                     in     the       cap all        of

 Table I             in    1970 1973                    players got              somewhat                   less       the clubs             are    above           the       cap After more than                              two

 than      16 of revenues                              in   baseball            and about                  21          decades           of very              contentious                 management player
                                                                                                                       union relations football                                 got       veteran            free        agency

                                                                                                                       through           collective               bargaining               in        1993 The             NFL
 Table      1         Player                Compensation                      as        a     Share             of
                                                                                                                       has    a hard salary cap                              initially         a maximum                      67
                       Revenue               in       Profession Team                       Sports                     of designated                   revenues               but some clubs                      have gone

                                                                                                                       above           the        cap        After           many          years            of operating
 Year                          MLB                      NBA                     NFL                        NHL
                                                                                                                       under           equalization                     compensation                        draft choices
 1970 73                       15.9                     46.1                    34.4                       21.3
                                                                                                                       in the      later          years veteran                    free    agency came                   last to
 1980                          31.3                     NA                      35.4                       NA
 1990                          31.6                     40.6                    41.0                       30.0
                                                                                                                       hockey            in       1995
 1991                          45.3                     39.3                    47.2                       32.6             Examination                      of    the        player           earnings             share       in
 1992                          57.8                     43.8                    59.6                       39.1
                                                                                                                       Table       I     reveal         some            interesting            shifts            due     to    the
 1993                          56.5                     49.5                    69.8                       40.7

 1994                          63.4                     41.4                    64.1                       41.4        increase              in    freedom                in       the      labor            market             In

 1995                          61.9                     46.2                    65.3                       38.2        football              player           salary          share        is        in     the     35 40
 1996                          53.6                     46.9                    60.1                       51.1
                                                                                                                       range       to        1990 and was about                            comparable                     to   the
 1997                          50.6                     NA                      53.4                       NA
 1998                          48.4                     54.2                    55.4                       58.4        share    in       the       NBA One must not read differences
                                                                                                                       in    the        effect          of    freedom               of     the         players            labor
  Shortened season                due       to   player management                 contract           dispute

 Sources        For        I99Q 1 996            except       for      player    salary       in      football         market           here Rather a football                                 team has                 about    4
 figure    is   player         compensation                 divided      by     total       revenue        from        times as          many players as a basketball                                       team and by
 Financial       World For football                     1992 1998             total     player        pay was
                                                                                                                       roster      size       alone       football            will    tend           to     have a higher
 provided        by    the      NFLPA                 For    1997       and     1998        data      is   from
 Forbes     Earlier data               is   from        Scully         1989      p 112 and                 from        player          share       of    revenues                  Beginning                in     1991 and
 various    Congressional                   Hearings         in   1976 and         1982                                continuing                 in     1992            player           salary             share         rose


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                                                                                            PLAYER SALARY SHARE                                                                                                   79


 Likely these jumps                              are      due    to      the       effect   of      the    raft      filed      on     behalf       of players        throughout               1982 1987
 of player initiated antitrust                                   suits          against        the   NFL             and        eventually            the    owners         were        found         to    have

 and       the    trend in findings for the players                                            The        peak       colluded               and paid compensation

 in    the       NFL player salary                              share         is in       1993 and             it         With         collusion        in    the    market        for        veteran        free

 remained high in 1995and 1996 But player salary                                                                     agents           eliminated             player       compensation                 shares

 as     a    share              of       total         NFL          league            revenues             has       rose       to     48        or    so     in    1992    and         1993     In         1994

 declined             since          then            The       owners              are     required         to       there       was a strike shortened                    season        in    1995 there
allocate          67 of designated                              revenues                 gate receipts               was an            owners          lock out shortened                     season         The

media income                         and some other revenues for player                                              player salary             share figures          for   these 2 years are not

salaries              In    1993           designated                revenues              were about                representative              Fans were drawn back to baseball

95 of                 total          revenues               But            owners           have          been       with       the         1996 season             which produced               a record
inventive              in   growing                  nondesignated                   revenues             The        number            of home          runs        nearly        5000 1 Recovery
rising fraction                      of    nondesignated                         revenues            out    of       from        the        strike lock out           seasons           took        place         in

total       revenues                  roughly             15 today                       has    meant a              1998 when                Mark McGwire                  with        70     home         runs

decline           in       player         compensation out of                               total     NFL            and Sammy Sosa with                       66    brought more fans to the
revenues                                                                                                             ballparks              Player     salary       shares       in     1996 and            1997
      In    hockey player salary share rose between                                                       1990       are       above        50        but declined          to   48.4          in     1998
and         1994            as       the       restrictive               labor        market           rules              Absent            the period         of    owner        collusion           and         its



grad ually                 relaxed               In       the        1994 95               season           an       aftermath               roughly         the     period       1982 1990                 it     is

owners                lock out                 shortened                 the         season          to     48      probable that player share in baseball                                    would have

games             Player                 salary           share          in     hockey           jumped              been comparable                    to    that    in    the    NBA           or        about
sharply           in        1996           and            1998        as        competition                for      45 or so by the early 1980s
veteran           free agents                  accelerated                                                                While        it   may be          too early       to   tell    it    appears           on

      In    the       NBA there                      is   no sharp break                       in    player         the        basis    of the data           for    1996 1998 and                  with         the

salary       share               The       labor          market              in     basketball           has       existing           labor        market          and     contract           terms        that

been        relatively               free for             a long time                 and over             the      govern           draft    choices         rookies       journeymen players
years       has extended                       free agency                 to    a   larger      class      of      and        free    agency eligible veterans                   contained            in    the

players               No        data        is       available             for       1997        but       the      various            collective            bargaining          agreements                 that

player           share          broke            the      50 mark                     in    1998 The                player           compensation as a share of                          total        revenue

1999 observation should                                    be treated with caution                                  is    converging             among         the        team    sports         at    about

since       an owners                     lock out shortened                          the   season                  50 55
  The        history                of    player salary                  share        in    baseball        is


different             from           the       other           sports            Basically            there

have been                  no       major changes                     in      the     labor         market
                                                                                                                         Maximum Compensation                         Shares       in    Professional
rules       in        baseball              since          1976            Veterans            are        free
                                                                                                                                                        Team Sport
agents           with           6    years           of     experience                   One         would

anticipate             that there                would be                a      sharp       rise     in    the      Is    50 or so             as     the player share            the    upper bound
player           salary             share        occurring                 with          veteran          free      in    professional           team sport One suspects that                               it    is

agency followed by                               a   long period                of relatively             flat      not        for     several       reasons First while veteran                            free




                                                                                                                    receive
player           salary          share           But        this         is     not the case                In      agents        on        average     may be paid              their    net marginal

1977         player              compensation                       was         24.8           of      total        revenue            products         journeymen               players         who
revenue           compared to                        17.1           in     1973 In             1980 the                         some minimum salary geared                            to their      years in

share        had           risen          to     30.8               In        1982          1984           the      the league              e g football basketball                      or are       eligible


relative          share             was 43.2               39.8                 In       1988       player          for    arbitration           baseball and rookie players                                who
salary       share              had       fallen          to    32.8                 and    was        even         usually receive              the rookie         minimum salary may be
                                                                                                                                                                                                                   3
lower       in    1990           This decline                  in   player salary share                     is      paid       Jess than       their    net marginal             revenue        product
linked           to    owner               collusion                against           veteran             free      Most         of the        players         associations              from       time to

agents           Marvin                  Miller           director              of the         baseball             time push               for liberalizing         the rules on free agency

players           association                    had raised the issue of owner                                      If   all    players       were free agents salary as a share of

collusion              in       the       market            for       veteran              players          in      revenues            would         rise     substantially             The          leagues

testimony                  before          Congress                  in       1982          Oversight               have strongly              resisted       further       liberalization             in    the

Hearings               1984 pp                       477 478                  Grievances             were           players           labor    market rules


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 80                                                                                                      GW SCULLY

       Second while net operating income as a fraction
                                                                                                                         Table      2     Growth               Rates        of     Revenue              and    Player
 of franchise               value           on     average                is    not      particularly
                                                                                                                                             Compensation                   1976 1990                   and     1990
 high        in   professional                 team         sports and                   the       number                                    1998
 of    franchises               has        more            than           doubled              franchise
                                                                                                                                                                            gR
                                                               10 15 or
                                                                                                                         Period                                                                                    Os
 values        continue               to    rise      at                                 so        per       year

  Scully           1995              p      132         Quirk              and           Fort            1992            MLB
                                                                                                                         1970 1990
       49 63t                                                                                                                                                               11.7                                   15.9
 p                         In        baseball           the         median appreciation
                                                                                                                         1990 1998                                           7.0                                   12.8

 rate    of 16 franchise                       sales       between               1991          and           1998

 was     9.8             with         a range              between              5.4                Detroit               NBA
                                                                                                                         1971 1990                                           8.5                                     7.8
 and     19.8              Baltimore Estimation of profitability                                                         1990 1998                                          14.1                                   18.3

 is    another matter Getting                                  at    actual          net      operating

 income           even      with           audited             financial             data          is   tricky           NFL
                                                                                                                         1970 1990                                          12.0                                   12.2
  Noll        1985         Scully            1989 pp 129 143 But                                             it     is
                                                                                                                         1990 1998                                          11.1                                   16.4

 clear       that    all        of    the      monopoly                   profit available                         in


 these        sports            has         not        been           transferred                   to            the    NHL
                                                                                                                         1973 1990                                          10.0                                   12.2
 players If             one takes                the       American                 economy                  as     a
                                                                                                                         1990 1998                                          12.0                                   21.5

 whole            labor          compensation                         is       about           75                  of

 national           output                 One would                      expect             that       under

 unrestricted              free       agency            for         all    players the                  upper

 bound on player compensation                                        as    a    share of revenue                         1970 1990             monopsony period With veteran                                       free


 in    team sport would approach about                                                70                                 agency the growth rate                        in    player          compensation               is


       Third       under whatever                          set      of labor market                          rules       5.3 percentage              points higher                 than       revenue         growth

 that        govern         management                         player           contracts                    and         in    1990 1998                 In     baseball           veteran         free        agency

 assuming that other costs of producing games                                                                     are    accelerated           salary          growth         above           revenue         growth

 minimized              and stable over time                               in   equilibrium the                          by 4.2 percentage                    points     in      the     1970 1990 period



                                                                                                                         collusion
 growth rate in player                           salaries will              equal            the    growth               which       includes             the     period            of    owner           collusion

 rate        in    club          revenues                  Average                  player              salary           against       free    agents           during        the       1980s With


 S
  average

        is
                   club

              player
                                salary since

                                share            of     club
                                                               roster

                                                                      revenues
                                                                               size   is      constant
                                                                                               s         times
                                                                                                                         acceleration
                                                                                                                                 stopped
                                                                                                                                        of
                                                                                                                                                    the

                                                                                                                                               player
                                                                                                                                                              1990 1998
                                                                                                                                                                salary
                                                                                                                                                                                   period

                                                                                                                                                                                 growth
                                                                                                                                                                                                  reflects

                                                                                                                                                                                                  compared           to


 revenue           R Thus                  S sR Then dS Rds sdR                                                          revenue        growth            12.8    compared               to    7.0
             dS   S gsR S ds sdR S s ds S R
         S s ds dR R s ds gR
 and                                                                                     l

  dR                1                                      1                    Inequilibrium

 the     change            in        player           salary          share            ds          is    zero

 and the           growth             rate        in    average                player          salary              is          CHANGES               IN THE DISTRIBUTION OF
 equal       to    the     growth            rate       in     club        revenue                                            EARNINGS               AND FREEDOM OF PLAYER
      Table 2 presents                      calculations                       of     the          nominal                                                    MOVEMENT
 growth           rates     of average                  club         revenue                 and        player

 compensation                   for        the     period             1970 1990 and                               for    Average         player               salaries        and        player          share       of

 1990 1998                 In        the    earlier              period             of       the        NBA              revenue        have       risen       dramatically              in all    professional

 revenue           and           compensation                         growth                  rates               are    team       sports         since       the    market           for     player services

 comparable                In        the    later          period the growth                                 rate        has    been     liberalized             If   the     effect         of labor         market

 in    player salary exceeds                           that         of the growth rate                             in    liberalization             was         uniform            across         all     levels     of

 revenue          by about 4 percentage                                   points and                    this is          playing         talent           and        characteristics                    eg      draft

 consistent          with            the    upward               trend          in    NBA player                         choices        rookies               journeymen                 veterans             starting

 salary        share            In       the       NHL              for        the     monopsony                         and backup            players one would expect an increase

 period           the      growth              rate        of player                 salary             is        2.2    in   the   mean       salary           but no       statistically              meaningful

 percentage

 revenues            but
                         points

                                 with
                                           more than
                                               veteran
                                                                      the

                                                                     free
                                                                                growth
                                                                                agency
                                                                                                    rate

                                                                                                        player
                                                                                                                   of
                                                                                                                         distribution
                                                                                                                         differences

                                                                                                                                of player
                                                                                                                                              in    the       other

                                                                                                                                                   compensation
                                                                                                                                                                       moments of the
                                                                                                                                                                                   On    the other            hand      if



 compensation                    grows             at       9.5           percentage                    points           liberalization            affected           certain          classes          of players
 higher           than          revenue                 A        similar              story             exists            i   e veteran        free       agents more than                     other types as

 for     the       NFL                Player           compensation                           and            club        is   likely then          the    entire distribution                  may have          been

 revenue          grow      at        comparable                    rates       over         the period                  altered by the             regime        change


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                                                                             PLAYER               SALARY SHARE                                                                                      81




      To examine this issue the distributions                                     of player                     The     greater dispersion                in player           compensation

 compensation                for     the     four            team            sports              are          observed     in     all   of the sports can                     be     verified       by

 compared between                   years   when the players market                                          comparing          the        variance         or     the        coefficient               of

 was        less   liberal      with       years        when        it       was            more             variation     in     the      recent       period          with        that    in     the

 liberal        These comparisons are as follows

 major league baseball                    1990 with           1998 ii
                                                                                            i
                                                                                       for the
                                                                                                 for
                                                                                                              distributions
                                                                                                             earlier    period As one would suspect the

                                                                                                                       of player           compensation                are    asymmetrical

 NBA 1988 89 with 1999 2000                                  iii    for          the     NFL                 The skewness and kurtosis coefficients are positive

 1990 with          1998 and              iv for the               NHL             1990 91                   which      indicates          that    the      distributions are                    right

 with 1998 99                                                                                                skewed and the density is more peaked than for the

      The     summary          statistics     for       the    distributions                      of         normal curve            On the basis of the Gini coefficients
 player       compensation appear                       in   Table       3 In all of                         inequality         of      player       compensation                    has         risen

 the     sports the mean player compensation has risen                                                       sharply in     all      of the       sports         The        rise    in   earnings

 dramatically             and       the    variance           is   much                greater               inequality    is   even greater when compared                               to earlier


 under       liberalization          Average            player salary                  at        2.8         years In baseball the Gini coefficient was 0.372                                           in

 million      is   highest     in   the   NBA with MLB following                                             1973 in     basketball              was 0.274        in       1967 68 and                  in


 at      nearly     1.4        2 million          in     1998           2000 5 This                          hockey     was 0.224           in   1977 78          Scully 1995               p 74
 differential        in   average         pay between              the           NBA and                     Earnings inequality                 remains highest               in    baseball       at


 the      other     professional           team         sports      has           been           an          0.626     and lowest          in    hockey      at   0.458

 historical        fact    and       in   part     is    due       to    the        greater                     The     entire       set    of    moments              of a        distribution

 liberalization           in    player initiated               transfer                in        the         ordinarily determine the                    distribution exactly                      On
 NBA compared to the other sports                                                                            the basis of the four               moments of the distributions




Table       3      Statistics       of Distributions               of Player                    Compensation

Measure                                      MLB                                                                                                  NBA

                                             1990                                                      1998                                        1989                                    2000


Mean                                         647.5                                                     1379.7                                     528.9                                    2826.9

Variance 10 3                                349.8                                                     3555.0                                     223.4                                    9685.2

Skewness                                         1.23                                                        2.16                                    2.42                                        2.00

a Mean                                           0.91                                                        1.37                                    0.89                                        1.10

Kurtosis                                         0.94                                                        5.68                                    8.50                                        4.17

Median                                       447.5                                                      410.0                                     380.0                                    1886.7

Gini                                             0.482                                                       0.626                                   0.428                                       0.528

 JGini                                           0.017                                                       0.013                                   0.028                                       0.021

Runs                                                                         z         468                                                                             z       144

Statistic                                                                        15.31                                                                                     17.44
Rank      sum                                                           Tx         747847                                                                         Tx         236068
Statistic                                                                         5.98                                                                                     17.31

N                                            666                                                       892                                        320                                      464


                                             NFL                                                                                                  NHL

                                             1990                                                      1998                                       1991                                     1999


Mean                                         366.4                                                      783.1                                     232.3                                    1041.3

Variance 10 3                                126.6                                                      759.3                                      44.7                                    1339.0

Skewness                                         4.73                                                        2.46                                   6.84                                         3.90

a Mean                                           0.97                                                        1.11                                    0.91                                        1.11


Kurtosis                                     36.94                                                           8.80                                  70.44                                     25.20

Median                                      275.0                                                      400.0                                      185.0                                    650.0

Gini                                             0.397                                                    0.512                                     0.319                                        0.458

 Gini
                                                 0.014                                                    0.011                                     0 Q25                                        0.018

Runs                                                                         z         406                                                                             z       168

Statistic                                                                        38.70                                                                                     28.49
Rank      sum                                                       Tx            2682674                                                                         1          859829
Statistic                                                                        15.78                                                                                     28.48

N                                            1445                                                      1795                                       539                                      896




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 82                                                                                                          GW SCULLY

 reported                 in   Table           3   it   can          be     concluded              that there               Alternatively                since         the        errors          are    likely         to    be

 is    an interperiod                      difference                  in       the   distributions             of    heteroskedastic                   the        Gini can             be    defined             as

 player               compensation                      in    all     of the          sports
                                                                                                                      Gini             2e In                 1         lIn

                                         Nonparametric Tests
                                                                                                                      where        e    is    the      WLS estimator                         of   e
                                                                                                                            The standard                error of                the    Gini       is

 There            are        a number of nonparametric                                       tests      for    the

                                                                                                                      crGini           2 crce n
 equality               of two             distributions                        Mood         et    al 1974
 518 524                     Two         nonparametric                          tests     were         selected       with      cr     O coming from                        the       WLS         estimation

 and         performed                     the          run         test        and    the        Wilcoxon                  Using       this      simplification                      the standard                 error      of
 Mann Whitney                            rank sum test The run                                test      is   good     the      Gini     coefficient                was          obtained           for each            of the

 against various                         sorts          of departures                   and        does not           sports           The    O'Gini         for     each         of the Gini                coefficients


 assume independence                                    of    the      two       sets   of data If the                appears          in    Table       3 A 95 confidence                               interval can

 distributions                       are       similar               widely           separated                the    be     constructed                by        multiplying                 O'Oini     by              1.96
 total            number                 of        runs             will         be     large            small        Inspection             of        these        confidence                 intervals               reveals


 compared                      to    the        number                 of       observations                  The     that      the     lower          bound of the Gini                           in    each          of the

 Wilcoxon Mann Whitney                                                or        the     rank sum                      sports for                                 or freer             labor    market period


 difference
                                                                                                               test                         the    later                                                                       is

 will       yield         relatively           small            large values of the                                   usually          well       above          the       upper         bound of those                      for

                 between the sum of the ranks and                                            the    expected          the      earlier or          more            restricted            period          Thus            these

 sum         for       similar            widely         separated distributions                                      Gini       coefficients                are           statitically            different             from

       The            results        of these           two          nonparametric                  tests      are    those      of the        earlier           period f

 reported                 in        Table       3 Runs                     as    a    percent           of the

 combined samples                              range           from             11.7         in    the       NHL
 to    30.0 in MLB On this basis                                                 i   e a rather small                     COMPENSATION AND MARGINAL
 number of runs and the                                                                          one
                                                                test        statistic                    rejects
                                                                                                                       REVENUE PRODUCT IN MAJOR LEAGUE
 that        the          distributions                              similar                 a
                                                         are                          in          statistical
                                                                                                                                                             BASEBALL
 sense                A      similar            conclusion                       results          from         the

 Wilcoxon Mann Whitney                                               rank         sum        test        All    of    The       large         increase               in         the     variance             of        player
 the        rank sums                    are    large           and         this      along with               the
                                                                                                                      compensation                     and          the          shift       in        the        earnings
 test       statistic          leads       to      the       rejection            of the         hypothesis
                                                                                                                      distribution                toward            more              inequality             have        been
 that        the       distributions                    are     equal                                                 established                 At     issue             is    to      what           degree          these

                                                                                                                      changes          are    due       to   greater variance                      in    player share

                                         A Parametric                       Test                                      of marginal                 revenue              product            or       due       to    greater

                                                                                                                      variance          in    marginal               revenue             product             among the
 Formerly calculation                                   of     the     standard error of the
                                                                                                                      players           To        answer             this        question              the        marginal
 Gini        coefficient                   was          hampered by                     mathematical
                                                                                                                      revenue          product          of the players                   must be calculated



 Sandstrom
 complexity                    and         the          laboriousness                   of        numerical
                                                                                                                      This is most facilely done                                for    baseball          players          The
 calculation                   using           the jackknife                     technique
                                                                                                                      comparison of the                      variances                will    be       between          those
                 et    al 1988                 Recently Giles                         2002        has    swept
                                                                                                                      ball     players         on       the        1990 and              1998 major league
 away            all      of        this       complexity                   and        computational
                                                                                                                      rosters
 intensity              by showing that                         the        standard error of the

 Gini        coefficient                 can       be obtained                        by OLS             WLS
 regression                  techniques                                                                                          Estimating              Marginal                 Revenue              Product

       If   the        observed                data          y are in increasing order
                                                                                                                      The      first    estimates of player                            marginal              product          in
 then        Ogwang                  2000          p 124 shows for the case of
                                                                                                                      sports           were        those            for         major             league          baseball
 normally distributed                                   homoskedastic                        errors           that
                                                                                                                       Scully          1974 Using a simple two                                    equation             model
 the        Gini can                be defined               as


                                     1 6n C3                                                                          relationships
                                                                                                                      with     data      for      the        1968 and             1969 seasons
 Gini


 where           ji
                       n2


                        is     the       sample
                                                              lji



                                                             mean and                 p      is    the       OLS
                                                                                                                      performance between

                                                                                                                                       and
                                                                                                                                                       win

                                                                                                                                                  between
                                                                                                                                                                    percent

                                                                                                                                                                       revenue
                                                                                                                                                                                        and

                                                                                                                                                                                             and
                                                                                                                                                                                                   player

                                                                                                                                                                                                        win        percent

                                                                                                                      were estimated                   The         first        equation          related         the    club
 estimator                in
                                                                                                                      win      percent            to    a        measure of team                         hitting             the

 Yi          X          3i          Gi                                                                                slugging         average               team pitching                   the strike to walk



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                                                                                   PLAYER SALARY SHARE                                                                                                           83


 ratio         and           some        other         variables              The          second
                                                                                                          Table           4        Win Percent               and Revenue Equations                              for
 equation related                  team revenue               to    club win            percent
                                                                                                                                   MLB in 1990 and 1998
 considerable
          A
 population and some other variables

            literature           arose         that        sought            to     refine          the
                                                                                                          Variable                 WIN90
                                                                                                                                   OLS
                                                                                                                                                       REV90
                                                                                                                                                       2SLS
                                                                                                                                                                               WIN98
                                                                                                                                                                               OLS
                                                                                                                                                                                                    REV98
                                                                                                                                                                                                    2SLS
 estimates             of player         marginal             revenue              product           in




 bibliography
                                                                                                          Constant                  0.4873              43.463                  0.6133               54.771
 baseball              see   Fort        1991 for a partial
                                                                                                                                     3.44                    3.50                5.55                     1.92
             and then sought                   to     apply      this     general             model       TSAr                       1.3540                                       1.6437

 to    other       team        sports          Much         of the refinement                        in                              4.10                                         7.04
                                                                                                          ERAi        I              1.7806                                       1.8427
 the estimates of player                        marginal               revenue          product
                                                                                                                                     7.58                                         7.64
arose        from considering other or more explanatory
                                                                                                          WIN                                               60.958                                   200.16

variables              refining     the difference                between gross and                                                                          2.91                                         3.60

net     marginal             revenue          product            obtaining              a larger
                                                                                                          WIN         I                                     65.717                                       11.523

                                                                                                                                                             3.77                                         0.20
number            of players           in     the     sample and altering                           the   POP                                                0.00157                                     0.0020
                                                                                                                 t


functional              form of the equations                                                                                                                3.73                                        1.31
                                                                                                          STAD                                                                                        29.210
      For     the       purpose          of    this    paper a two equation
                                                                                                                                                                                                         2.34
model        is    utilized        The        first    equation              estimated by                 EXPAN                                                                                       48.991

OLS          relates         the    team            win     percent          to     the          team                                                                                                    7.74
                                                                                                          R2 Adj                     0.7421                  004133              0.7931                  0.5800
slugging           average         and        to      the    inverse          of the team

earned        run average                   1jERA            These two variables
                                                                                                           J                        26
                                                                                                                                                             0.4837                                      0.6523

                                                                                                                                                        26                      30                    30

capture        most of the variation                        in   player           and pitcher
                                                                                                          r values in parentheses                in   OLS equations            asymptotic        r values in
quality            The        second          equation             relates          club         total
                                                                                                          2SLS       equations
                             media revenues                                  win percent




Tampa
revenues           less                                      to     the

the     win       percent          lagged           one      season           population
and     for        the       1998      season             dummy              variables              for    1.84 points                   These values are                      much        higher than

recent       expansion teams                        Colorado Arizona                                      the        ones       obtained              for    1968 1969                0.92      for       team

       Bay        Florida           and        new         ballparks               Cleveland              slugging average                       and 0.90 for team                    strike to walk

Atlanta           Baltimore              Texas             Chicago           White            Sox         ratio Mainly                    the difference                 is due      to   the   fact           that



independent
since    such

         of       the
                        characteristics

                         club       record
                                                       raise

                                                      or    market
                                                                   revenue

                                                                             size         I      have
                                                                                                          extrabase hitting is more prominent
                                                                                                          in    past          times         For example                    the
                                                                                                                                                                                      in

                                                                                                                                                                                     team
                                                                                                                                                                                           recent

                                                                                                                                                                                                slugging
                                                                                                                                                                                                           than



chosen            to    subtract            media           revenues              from           total    average             is    in   the      range           of     0.373 0.468                in     1998




                                                                                                          3.255.22
revenues           because          media             revenues           have           little      or    compared to 0.311 0.414 in 1968 1969                                                 Increased

nothing           to    do with the club                   record        and they vary                    hitting has increased                        the       earned run          average

tremendously across                         teams Since                the    win percent                            in   1998 compared                     to    2.66 4.33          in   1968 1969
in the       second          equation          is   endogenous the revenue                                There           has      been no            corresponding                  increase         in        the




performed
equation           is   estimated           by 2SLS                                                       spread          in    team win percentages
      Standard           tests     for      heteroskedasticity                      were                       The marginal revenue                              of a 0.001 point              change            in

               On       the basis           of the     X2 values             the residuals                the    win percent                is    60958            in    1990 and            200160              in

of     the    production                 function            equations                  WIN90             1998 In nominal terms marginal                                          revenue           in    1990

WIN98             are        normal         while          those       of the           revenue           1998 is about 6 19 times its                                     level in        1968 1969

heteroskedastic
function          equations

                       Accordingly
                                         REV90              REV98
                                                the standard errors of the
                                                                                  are                     These increases
                                                                                                          of club         revenue
                                                                                                                                            in   marginal              revenue

                                                                                                                                            A typical baseball club had about
                                                                                                                                                                                      parallel           those



                                                                                                                                                                 1969 somewhat over
heteroskedasticity
2SLS        equations            are     corrected                                                         5 million in revenues                                                                                50


consistent
                                                              for                                                                                           in

       1980
        using           White's                       heteroskedastic                                     million         in       1990 and close                   to    90 million in 1998
        covariance             matrix estimation                                                               Marginal              revenue           product            is   marginal             revenue

      The empirical              results        appear         in      Table        4 On the              times the                coefficient         of performance                     on     the           win

whole         the       parameter              estimates               are        statistically           percent              For        players                pitchers            in    1990           it     is

meaningful               and       a good             part     of the variance                       is   1.354 60958                     1.781 60958 82537                                     108542
associated

1990
                        with

         1998 a one point change
                                   the      explanatory

                                                                   i
                                                                        variables

                                                                       e 0.001                in
                                                                                                   For
                                                                                                   the    corresponding
                                                                                                          For players and pitchers

                                                                                                                 marginal                revenue
                                                                                                                                                                  in


                                                                                                                                                            products
                                                                                                                                                                         1998 the

                                                                                                                                                                               are        329000               and
team     slugging             average                        the       win percentage                      368800

                                                                                                          individual
                                               raises

1.354        1.6437          points         e g 0.001354 A one point                                           Team           performance               is       the     linear      sum       of

increase          in    ERA 1            raises        the       win         percent             1.78                player performance                          weighted         by player share



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  84                                                                                              GW SCULLY

  of performance                      Thus           the     ith      player has slugging                    revenue          product                It     is    likely             that        this         increased

  average           SAl and            has        ABi AB                percent       of   club         at   spread          in   the     variance               of player                 performance has

  bats Multiplication                        of      SAl by the percentage                        of    at   made         the       high           levels         of           performance                    that     are

  bats       yields        the       ith    player's             contribution              to     team       characteristic               of veteran              free agents                    more valuable
  hitting i          Summing                over       i    players yields              the       team       to     the      clubs           and           as     such               has       increased              their


  SA         Multiplication                     of     SA             ABriAB by                   MRP        salary       share          of marginal                  revenue                  product          relative


  e    g           82537         yields          the       ith    player's contribution                      to    nonveteran                players

  to        club     revenues               The        ith        pitcher        has       pitching

  performance of l ERAi and                                        IPrlIP percent               of     the

  innings pitched                    Summing the product                          of these           two

 variables            over       i    pitchers             yields        the   team        ERA I                                               CONCLUSIONS



                                                                                                             movement
 The         product            of these             two         variables        times         MRP
  e    g 108542                  yields the                ith   pitcher's contribution                      With         freedom             of      veteran                  player initiated

  to   club        revenue                                                                                                average             pay compensation                                   as      a share           of

       It


 estimates of
              is    important

                               marginal
                                            to       bear

                                                  revenue
                                                                   in    mind

                                                                        product
                                                                                      that

                                                                                       are
                                                                                                  these

                                                                                                gross        compensation
                                                                                                             league          revenue

                                                                                                                     among players have
                                                                                                                                                and the dispersion of

                                                                                                                                                                          increased                 The       order        of




 performance
 not        net      Neither          all    dimensions of player                                            magnitude              of        these        effects              is    substantial                    These




 scouting
                   have         been        taken           into        account        nor        have       effects         have taken               some           time            to    work          themselves

 nonplayer                inputs            eg manager coaches                                               out     In      the    NBA there                        is        no trend             in    the    player

              travel           stadium                been            considered             in      the     share           although                the        new             collective               bargaining

 production                function               And            resources        other           than       agreement             which             sets        the salary                    cap       at    55          of

 those         associated              with          producing               wins      have          not     designated             revenues                and            which               fixes       minimum
 been taken               into       account               and these           resources          may        salary       for players                by years of experience                                   have put


 promotions Nevertheless
 directly           affect      revenues               e g advertising                                       some upward pressure on the player share

                                                                                                                             within           the existing                     labor           market           rules      a

                                                                                                             player       share          of     60 of league                              total          revenues          is

                                                                                                             unlikely         In     the       NFL player compensation share
  Variances               in   Salary Salary Share and Marginal
                                                                                                             has     fallen         from             its        peak            level           in       1993         This
                                     Revenue Product
                                                                                                             shrinkage             may         continue                   to     a degree                as     owners
 By definition                  player           salary          is     salary    share         times        raise      revenue              from          sources               not           covered          by     the

 player            marginal           revenue              product             Thus        Sl Sri            collective           bargaining                 contract                     It    is    natural          for

 MRPr MRPI SiMRPI                                           Taking             logarithms              on    owners          to    fritter           away         incremental                       revenue           with

 both sides of the                     expression                     and    dropping             the    i   inventive            ways         around the                      salary           cap        but       since

 subscript            we have               InS lnslnMRP As                                  is   well       gate       and       broadcast                 revenues                  are        quite          equally

 known              the    variance              of two            additive       variables             is   divided         among             clubs            in     the           NFL             the      financial

 Var          lns InMRP Var lns Var lnMRP 2                                                                  returns         to    winning                are     relatively                   modest            In    the

 Cov ln s InMRP                                                                                              NHL salary share has risen considerably                                                           but

                                                                                  N 654
                                                                                                                                                                                                                      it   is

       The         result       for        the       1990         sample                                is   too     soon           to        tell        whether                the           58             share        is


 0.9877 1.1625 0.7537                                      2 0.4643               The                        sustainable                In     MLB                player              share                    the

                                                N 846
                                                                                                result                                                                                                in              late




                                                                                                             frequent
 for the           1998 sample                                     is    1.5533 1.4219                       1990s      is   actually           less than                 it    was        in    1992 1993
 1.0555             2 0.4621                9     Both           the     variance            of      the          Player management                              disputes                  were           more

 logarithm            of salary share                  and that of the logarithm                                        and disruptive                     in     the          1990s than                in   the past



 substantially
 of marginal

              in    the
                            revenue

                           interim The
                                                 product

                                                            source
                                                                      have

                                                                          of
                                                                               risen

                                                                                the    increased
                                                                                                             and     this is


                                                                                                             was growing
                                                                                                                                   due to the

                                                                                                                                         at    a     faster
                                                                                                                                                            fact


                                                                                                                                                                     rate
                                                                                                                                                                          that player average

                                                                                                                                                                                 than           club          revenues
                                                                                                                                                                                                                      pay


 variance           in    the player             marginal revenue                     product           is   Such disputes                likely           will      continue                  as    owners           seek

 the marginal                  product of              hitting          and pitching              The        rules      through           collective              bargaining                     that         will    help

 ratio of the              pitchers              marginal             revenue         relative         to    to    constrain             their        financial                 competition                    for     the

 the        hitters       marginal               revenue           actually       is    lower          in    limited         pool       of     high quality                      veteran              free agents

 1998          368.8 329                    than      in     1990            108.54 82.54                    Naturally              the        player             unions                  will        resist         these

 Therefore                the    increased                 variances           in player          and        attempts

 pitcher

 increased
                   marginal

                      variance
                                      product

                                            in    the
                                                            are

                                                            logarithm
                                                                      responsible          for


                                                                                 of marginal
                                                                                                     the
                                                                                                             liberalization
                                                                                                                  The     main beneficiaries

                                                                                                                             have        been the
                                                                                                                                                                      of labor

                                                                                                                                                                veteran              players
                                                                                                                                                                                               market

                                                                                                                                                                                                          While        the



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                                                                                         PLAYER          SALARY        SHARE                                                                                                     85



 player           associations                        negotiate          rookie           minimum                 season            Partly          the        home run orgy                        is    traced           to    the

                                                                                                                  greater           weight          and        strength            of    players               As     in    other
salary       and seek                  to    liberalize         the labor           market            rules
                                                                                                                  sports these men are simply bigger and                                                  stronger          than
for       draft            choices           and        journeymen                 players        these
                                                                                                                  they        were         even          a     decade             ago        Barry              Bonds            the

changes               have        not        brought           benefits       to    them nearly                   current           home           run        record         holder          saw          his    home           run

as great              as       those        to    veteran        free agents              An     effect           production               about double as his weight went                                           from        190

                                                                                                                  to    235        pounds This bulking up by Bonds                                               paid       off in
of                    difference                 in    the     labor         market           rule      for



inequality
          this
                                                                                                                  2001         when           he    broke McGwire's                            home            run     record
 veteran              and         nonveteran                  players               growing


nonveteran
                                                                              is
                                                                                                                  Use of steroids is widespread                                    in    baseball               and    in fact
                      of player              compensation                    Many
                                                                                                                  is    not        barred by              the        collective          bargaining                  contract
          players are                  paid           less    than     their       net     marginal               Also        the     baseball            is no        longer stiched                    in    Haiti        Some


compensation
revenue               product

                           would
                                             The

                                            be
                                                        inequality

                                                      mitigated        to
                                                                             of player

                                                                              a degree            if    all   3
                                                                                                                  suspect

                                                                                                                  League
                                                                                                                                   that

                                                                                                                                     rookie
                                                                                                                                              the    ball

                                                                                                                                                        minimum
                                                                                                                                                                 has been            juiced

                                                                                                                                                                              salaries
                                                                                                                                                                                                     up
                                                                                                                                                                                                    are        as     follows

players           were            free       agents            However              club        owners            NBA              301875               1999 2000                  MLB               200000            2000
                                                                                                                  NHL              150000            1999 and NFL                              144000                1998 In
would not agree to such a sweeping                                                 liberalization
                                                                                                                  the        NBA         minimum                salaries also                are     geared           to    years
in the players                       labor        market                                                          of experience ranging from one                                         year            385000             to    10
     To      get           a     feel       for       the     effect     of      universal             free       or     more        years           1 million
agency

  500000
                  I    assumed

                       or         less
                                             that

                                             in
                                                        all


                                                      1998
                                                              baseball

                                                               were
                                                                              players earning

                                                                             exploited            Such
                                                                                                              4
                                                                                                                  appreciation
                                                                                                                  There        is not


                                                                                                                              rates      of
                                                                                                                                              much convincing
                                                                                                                                               sports            franchises
                                                                                                                                                                                    evidence

                                                                                                                                                                                         have
                                                                                                                                                                                                         that

                                                                                                                                                                                                     changed                much
                                                                                                                  over        time         Some              decades          experience                  more             robust
players are nearly half of the                                   892 ball players                in    the
                                                                                                                  franchise           value         growth            rates        than      others             but    there      is
sample            I    calculated                 each group's salary as a share
                                                                                                                  no     trend           Yet        changes            have        occurred              that        ought        to

of    gross            marginal                  revenue        product             For         players           effect       the       long term equilibrium                               rate        of     return           On
earning           more than                           500 000        their       share        of gross            the        positive          side           there         has     been            the        tremendous

marginal               revenue                   product        equaled             41.5               The        increase            in      broadcast                    revenues            in        the         post war
                                                                                                                  period           particularly since                       the     1960s On                   the    negative
multiple              of   salary that caused                      the      share    ofMRP to
                                                                                                                  side there             is   veteran                free    agency curtailment                            of the
be the same                      for        the exploited              players           as     for    the
                                                                                                                  aIlowance              of    the       fraction            of the          franchise               purchase
nonexploited                      players             was      found         a     factor        of 2.7           price        that        can      be         allocated            to       depreciable                   player

times the                  observed              salary The                 simulated            salary           contracts              and        the       fall    in     the    top      marginal                 tax   rate

distribution yielded                             the following               results Average                      On         the     whole           franchises               appear            to       appreciate               at




                                                                                                                  franchises
                                                                                                                  about        the       rate       of equities               in the         stock            market and
player           compensation                          in     1998     would         have           been
15           higher               than            that         observed             and          player
                                                                                                                  given        the

                                                                                                                                   owning
                                                                                                                                         low        failure

                                                                                                                                                    a        club
                                                                                                                                                                      rates

                                                                                                                                                                        is    not
                                                                                                                                                                                   bankruptcies
                                                                                                                                                                                         a     particularly
                                                                                                                                                                                                                      of

                                                                                                                                                                                                                            risky

compensation                      as    a share of league revenues                               would            business

have been                  55.7             rather          than the observed                  48.4           5 Player salaries                    continue            to    escalate          For example                       for

The       Gini coefficient                        was recalculated                   It    dropped                the    2002 season                 the       average            in baseball             is    about            2.4


from 0.626                 to     0.499 or about                   the      level    observed           in
                                                                                                                  million            NBA                4.2      million            NHL                  1.43        million

                                                                                                                  NFL              1.1   million                Interclub           salary differentials                        are
the       1990 sample While these simulated changes of
                                                                                                                  wide        e g in baseball                         from         34 million in Tampa                            to
universal              free       agency are significant                           they       are      not           126 million              for    the        Yankees
so   dramatic as to threaten the financial                                           integrity          of    6 It      is   likely      that       there            would        be a gain              in     asymptotic

baseball                                                                                                          efficiency               smaller             standard             errors                if     seemingly
                                                                                                                                                                     SUR was employed


                                                                                                                  doubles
                                                                                                                  constructed
                                                                                                                  unrelated           regression

                                                                                                              7 Other          variables             were            examined                For         hitters       I
                                     Acknowledgements
                                                                                                                                     a   total          base          percentage                singles

An    earlier         version          of    this      paper    was      given      at    the    annual                  triples           home              runs           walks            stolen             bases             at


meetings         of    the       American             Economic       Association         Meetings        in       bats For pitchers                       I    added         a games saved                      percentage
January 2001 And                       1 thank         David    Giles     for comments                            variable           While          these variables                 worked well they did
                                                                                                                  not        add      much           to        the      associated              variance               of       the

                                                                                                                  production               function              The gain               in   constructing                   these

                                                                                                                  variables for the                 entire            sample        of ball players in                      1990

                                                                                                                  and        1998 is not worth                        the    effort
                                                  NOTES                                                       8 For both                 hitters         and          pitchers            where           performance

1 In hockey                    the     union by default                or    ineptitude          failed           was       more than one club
                                                                                                                             with                                                              the        total        season


     playerinitiated
     to    make any               gains      in liberalizing the rules for                                        performance was calculated

                           transfer         either       in   court      or as a         price to       be    9 The          shrinkage             in    the         sample        sizes       is    due        to    players

     paid    for           the    shotgun merger of                    the   NHL          with    what            with       zero     MRPs Mainly this                              is    due       to     the       fact   that

     remained              of the        WHA                                                                      they       were injured               for      the    entire       season          or        returned          to

2 Home runs                      per    team were             23.1        higher         than    in    the        the        minors        without               appearing                in    a        major         league

     1994        season              They         were        28       higher       by     the      1999          game



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